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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

LILY ENGLEMAN,

Plaintiff,
                                                  Civil Action
v.                                                File No. 1-21-cv-1992-MLB

NATHAN ADKERSON, et al.,

Defendants.

                                     ORDER

      Upon consideration of the Consent Motion to Extend Discovery and for

good cause shown, the Court hereby GRANTS the motion and extends discovery

through and including July 18, 2022, and extends the deadline for the filing of

dispositive motions to August 18, 2022.

      SO ORDERED, this 18th day of March, 2022.



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